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                         UNITED STATES BANKRUPTCY COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION


    In re                                                Chapter 11

    BESTWALL LLC,1                                       Case No. 17-31795 (LTB)

                   Debtor.



            MOTION FOR RECONSIDERATION OF ORDER DENYING THE
        OFFICIAL COMMITTEE OF ASBESTOS CLAIMANTS AND THE FUTURE
        CLAIMANTS’ REPRESENTATIVE’S MOTION TO COMPEL PRODUCTION
            OF DOCUMENTS LISTED ON THE DEBTOR’S PRIVILEGE LOG

            The Official Committee of Asbestos Claimants (the “Committee”) and Sander L.

Esserman, in his capacity as the Future Claimants’ Representative (the “FCR”, and together with

the Committee, the “Claimants’ Representatives”) by and through their undersigned counsel,

hereby move for reconsideration of this Court’s April 4, 2022 Order Denying the Official

Committee of Asbestos Claimants’ and the Future Claimants’ Representative’s Motion to Compel

Production of Documents Listed on the Debtor’s Privilege Log2 (the “Order”) [Docket No. 2502],

and in support thereof, state the following:

                                        INTRODUCTION

            1.    On April 4, 2022, the Court concluded several months of argument over the legal

sufficiency of the Debtor’s nearly 500,000-entry privilege log by entering the Order denying the

Claimants’ Representatives’ Motion to Compel. The Court concluded that the Debtor’s 35-day


1
 The last four digits of the Debtor’s taxpayer identification number are 5815. The Debtor’s address
is 133 Peachtree Street, N.W., Atlanta, Georgia 30303.
2
  The Official Committee of Asbestos Claimants and the Future Claimants’ Representative’s
Motion to Compel Production of Documents Listed on the Debtor’s Privilege Log [Docket No.
2277], which was filed on December 3, 2021, is referenced herein as the “Motion to Compel.”


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last ditch effort to revise the “[u]ndoubtedly” inadequate privilege log it served by the November

15, 2021 deadline (the “Original Log”)3 warrants denial of the Motion to Compel. To reach that

conclusion, the Court credited the Debtor’s boasts of “expedited and exhaustive” effort between

January 20, 2022 and February 24, 20224 and failed to apply the Fourth Circuit standard for a

legally sufficient privilege log. The Claimants’ Representatives respectfully submit that the Court

committed clear error and reconsideration is appropriate.

          2.       The Court correctly observed the applicable standard, explaining “as noted in the

Fourth Circuit’s Interbake Foods decision[,] because the debtor relies on a privilege log to assert

the privileges, the log must as to each document set forth specific facts that, if taken as true,

establish the elements of the privilege for each document for which privilege is claimed.”5 The

Court further correctly observed that the “threshold issue before the Court” on the Motion to

Compel was whether the Debtor’s privilege log “demonstrates with respect to each document that

a claim of privilege or protection applies.”6 Finally, the Court correctly observed that the Original

Log undeniably was inadequate.

          3.       The Court, however, overlooked that the revised privilege log that the Debtor

served the Claimants’ Representatives on February 24, 2022, and the Court on February 25, 2022

(the “Revised Log”), still contains at least tens of thousands of entries that do not “set forth specific



3
  Tr. of Mar. 17, 2022 Proceedings before the Honorable Laura Turner Beyer (“Mar. 17, 2022 Hr’g
Tr.”) [Docket No. 2480] at 17:2-3; see also id. at 17:3-4 (“As Mr. Donlon said, ‘In the beginning,
the debtor did a lousy job.’”).
4
    Id. at 12:1.
5
  Id. at 16:6-11; see also N.L.R.B. v. Interbake Foods, LLC, 637 F.3d 492, 502 (4th Cir. 2011)
(“When a party relies on a privilege log to assert these privileges, the log must as to each
document . . . set[] forth specific facts that, if credited, would suffice to establish each element of
the privilege or immunity that is claimed.”).
6
    Mar. 17, 2022 Hr’g Tr. at 16:15-17 (emphasis added).


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facts that, if taken as true, establish the elements of the privilege for each document for which

privilege is claimed.”7 The Revised Log suffers many of the same problems as the Original Log

that the Court found to be “undoubtedly” inadequate. For example, the Revised Log still contains

no less than 500 entries that indicate on their face that the documents are not privileged. It still

contains more than 50,000 entries where the Debtor is unable to identify the author. It still contains

more than 30,000 entries asserting common interest protection without specifying the necessary

facts to evaluate that assertion, including basic facts such as the party with whom the Debtor

contends there was a common interest.

          4.      The Debtor failed to satisfy its burden to serve an adequate privilege log.

Accordingly, the Order denying the Motion to Compel constitutes clear and prejudicial error. At

the very least, the Debtor should be required to produce the documents described above.

Accordingly, by this Motion for Reconsideration, the Claimants’ Representatives seek entry of an

order vacating the Order entered on April 4, 2022 and ordering such other relief as may be just and

proper, including but not limited to the production of some or all of the documents and information

listed on the Debtor’s Revised Log.

                                         JURISDICTION

          5.      The Court has jurisdiction over this matter under 28 U.S.C. §§ 157 and 1334. For

the purposes of a hearing on this Motion for Reconsideration, venue in this Court is proper pursuant

to 28 U.S.C. §§ 1408 and 1409. This matter is a core proceeding within the meaning of 28 U.S.C.

§ 157(b)(2). The legal authorities for the relief requested herein are Bankruptcy Rules 7026 and

7037, FRCP 26 and 37, and FRE 502(d).




7
    Id. at 16:8-11.


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                                            BACKGROUND

          6.         On March 31, 2021, the Court entered the Case Management Order for Estimation

of the Debtor’s Liability for Mesothelioma Claims [Docket No. 1685] (the “Estimation CMO”).

The Estimation CMO required the Debtor to produce its final rolling privilege log no later than

November 15, 2021. From August of 2021, to November 15, 2021, the Debtor produced 15

privilege logs which included over 491,000 entries.8

          7.         Beginning in August and September of 2021, the Claimants’ Representatives raised

“concerns about the sufficiency of the [Original] [L]og” with the Debtor.9 The parties met and

conferred regarding these significant issues but “the [D]ebtor responded by insisting that its logs

were sufficient and it had done enough[.]”10 The Debtor served the final installment of its Original

Log on November 15, 2021. The Claimants’ Representatives met and conferred with the Debtor

one more time on November 29, 2021, and on December 3, 2021, the Debtor again asserted that

the Original Log was adequate.11 The Claimants’ Representatives promptly filed their Motion to

Compel on December 3, 2021.

          8.         The Court held a remote hearing on the Motion to Compel on January 20, 2022 (the

“January Hearing”). The Court “agree[d] with many of the deficiencies that were pointed out in

the log and the problems with the log that were pointed out by the [Claimants’ Representatives] in

their pleadings and at [the January Hearing.]”12 As an example, the Court highlighted “the most




8
    Id. at 8:7-19.
9
    Id. at 9:1-4.
10
     Id. at 9:4-6.
11
     Motion to Compel ¶ 23.
12
  Tr. of Jan. 20, 2022 Proceedings before the Honorable Laura Turner Beyer (“Jan. 20, 2022 Hr’g
Tr.”) [Docket No. 2371] at 188:17-19.


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obvious one being . . . the 188,000 identical descriptions” and explained that those entries “strike[]

the Court as problematic” and instructed that “those descriptions need to be cleaned up and made

more specific so one can determine from the face of the description if the privilege has been

properly alleged.”13 As another example, the Court highlighted the “failure to list authors of

documents” and explained that it “strikes [the Court] as a little difficult to claim privilege for a

document if you are unsure who the author is” and instructed that “the [D]ebtor should probably

revisit some of those documents[.]”14

          9.      Despite its repeated refrains that its Original Log was sufficient, the Debtor asked

the Court for another chance to meet and confer. The Court observed that this was “not unlike the

situation in which we found ourselves with respect to the debtor’s motion to enforce the personal

injury questionnaire,” and concluded that “it would be reasonable, as the objecting claimants

requested for that motion, to give the debtors the opportunity to meet and confer again one more

time with the [Claimants’ Representatives] before the Court grants the [Motion to Compel].”15

The Court continued the hearing until February 17, 2022, the next regularly scheduled hearing

date, which was later rescheduled to February 24, 2022 (the “February Hearing”). The Court

further instructed the Debtor to make any changes it wished to make before the February Hearing16

and set February 21, 2022 at 5:00 p.m. as the deadline for any supplemental submissions on the

Motion to Compel.




13
     Id. at 188:22-189:1.
14
  Id. at 189:8-15; see also generally Exhibit 1 (The FCR’s Presentation on the Claimants’
Representatives’ Motion to Compel Production of Documents Listed on the Debtor’s Privilege
Log, Jan. 20, 2022).
15
     Jan. 20, 2022 Hr’g Tr. at 189:17-190:6.
16
     Id. at 190:7-16.


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          10.     On February 7, 2022, the Debtor provided a sample of 46 revised privilege log

entries to the Claimants’ Representatives and the Court for consideration at an “interim status

hearing off the record on February 9th” (the “Interim Conference”) requested by the Debtor.17 At

the Interim Conference, the Debtor provided an update on the status of the revised logs and

indicated it would complete its revisions by the February Hearing.18               The Claimants’

Representatives identified multiple continuing problems with the revised entries.19

          11.     On February 15, 2022, the Debtor served its first segment of the Revised Log,

containing 37,522 entries. The Debtor served the next segment, with 48,243 entries, on February

21, 2022, the day the supplemental briefing was due by 5:00 p.m. The Debtor served the remaining

three segments, and the vast majority of the Revised Log entries, approximately 18 hours (145,851

entries), 15 hours (234,776 entries), 11 hours (13,682 entries), and 9 hours (12,288 entries) before

the start of the February Hearing where the Court heard final arguments on the Motion to

Compel.20

          12.     In their supplemental brief and at the February Hearing, the Claimants’

Representatives pointed out that the Revised Log still reflected many of the Original Log’s

deficiencies.21    Among other things, the Claimants’ Representatives brought to the Court’s


17
     Mar. 17, 2022 Hr’g Tr. at 13:1-3.
18
     Id. at 13:16-18.
19
  See generally Exhibit 2 (The Future Claimants’ Representative’s Presentation, Status
Conference Regarding the Debtor’s Sample Revised Privilege Log Entries, dated Feb. 9, 2022).
20
     Mar. 17, 2022 Hr’g Tr. at 14:4-7.
21
  See, e.g., Claimants’ Representatives Supplement in Support of Motion to Compel Production
of Documents Listed on the Debtor’s Privilege Log [Docket No. 2417] (“CRs Supplement”) at ¶
20; Tr. of Feb. 24, 2022 Proceedings before the Honorable Laura Turner Beyer (“Feb. 24, 2022
Hr’g Tr.”) [Docket No. 2450] at 126:2-129:15; Exhibit 3 (The Future Claimants’ Representative’s
Presentation, Continued Hearing on the Claimants’ Representatives’ Motion to Compel
Production of Documents Listed on the Debtor’s Privilege Log, dated Feb. 24, 2022).


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attention that the Revised Log contained entries identifying third party authors and recipients that

on their face break any privilege, including asbestos plaintiffs’ counsel,22 entries that identify no

author at all,23 and entries claiming common interest or joint defense but failing to even identify

any third party sharing an identical legal interest with the Debtor.24

          13.     The Court explained its reasons for denying the Motion to Compel at a hearing on

March 17, 2022 (the “March Hearing”) and, for the reasons stated at the March Hearing, entered

the Order denying the Motion to Compel on April 4, 2022.

                                             ARGUMENT

          14.     Reconsideration of the Order is necessary to correct a clear error of law and prevent

manifest injustice. The Motion for Reconsideration is timely and should be granted without delay.

Federal Rule of Civil Procedure 59(e) and Federal Rules of Bankruptcy Procedure 9023 and 7052,

allow a party to move to “alter or amend a judgment . . . no later than 14 days after entry of

judgment.”25 The Fourth Circuit recognizes “three grounds for amending an earlier judgment”

pursuant to Rule 59(e): “(1) to accommodate an intervening change in controlling law; (2) to

account for new evidence not available at trial; or (3) to correct a clear error of law or prevent

manifest injustice.”26 Rule 59(e) allows a court “to correct its own errors, sparing the parties and

the appellate courts the burden of unnecessary appellate proceedings.”27



22
     CRs Supplement at ¶ 20(h)-(i) & Exs. R & S.
23
     Feb. 24, 2022 Hr’g Tr. at 124:22-125:1.
24
  CRs Supplement at ¶ 20(j) & Ex. T; Feb. 24, 2022 Hr’g Tr. at 128:15-130:10; Exhibit 3 at Slide
22.
25
     Fed. R. Bankr. P. 9023. See also Fed. R. Bankr. P. 7052; Fed. R. Civ. P. 59(e).
26
     Pacific Ins. Co. v. Am. Nat'l Fire Ins. Co., 148 F.3d 396, 403 (4th Cir. 1998).
27
  Id. (quotation marks and citations omitted); see also Livingston v. S.C. Dep’t of Soc. Servs., 852
F. App’x 95, 97 (4th Cir. 2021) (stating that “a district court retains the power to reconsider and
modify its interlocutory judgments, including partial summary judgments, at any time prior to final

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          A.     The Court Failed to Apply the Appropriate Legal Standard.

          15.    The Fourth Circuit legal standard for analysis of the Debtor’s privilege logs is well

settled and undisputed. “As the party asserting the privilege, the debtor has the burden of

demonstrating its applicability and the law presumes that the debtor will produce responsive

documents unless the debtor can demonstrate that a privilege or protection applies.”28 As this

Court and the Debtor acknowledge, under firmly established Fourth Circuit precedent, when a

party uses a privilege log to claim attorney-client, work-product, or common interest privilege over

a document “the log must as to each document set forth specific facts that, if credited, would

suffice to establish each element of the privilege or immunity that is claimed.”29 A privilege

log must “identif[y] the nature of each document, the date of its transmission or creation, the author

and recipients, the subject, and the privilege asserted.”30

          16.    In addition, the Estimation CMO that the Debtor agreed to and the Court ordered

contains certain requirements for a sufficient privilege log. Consistent with the Fourth Circuit

legal standard, in a section titled “Privilege Log Requirements,” the Estimation CMO expressly

required the Debtor to identify “[w]ho drafted or sent the document or message, as appropriate”

and the “[e]mail TO recipients[ o]r those who received the document, as appropriate.”31 The

Estimation CMO required the Debtor to provide additional information in a Players’ List and in



judgment when such is warranted” and the Fourth Circuit “review[s] a district court's grant of a
motion for reconsideration for abuse of discretion”).
28
     Mar. 17, 2022 Hr’g Tr. at 15:21-25 (emphasis added).
29
  N.L.R.B. v. Interbake Foods, LLC, 637 F.3d 492, 502 (4th Cir. 2011) (emphasis added) (internal
quotation marks and alterations removed); see also Mar. 17, 2022 Hr’g Tr. at 16:8-11; Debtor’s
Objection to Motion to Compel Production of All Documents Listed on Debtor’s Privilege Log
[Docket No. 2305] at ¶ 28.
30
     Mar. 17, 2022 Hr’g Tr. at 16:11-14; Interbake, 637 F.3d at 502.
31
     Estimation CMO, Ex. 1, Attach. B ¶ 1 (“Privilege Log Requirements”).


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entries asserting common interest or joint defense as a privilege or protection.32 The Court failed

to apply the Estimation CMO requirements in evaluating the sufficiency of the Revised Log.

          17.     Instead of applying the Fourth Circuit legal standards or the requirements set by the

parties and the Court in the Estimation CMO, the Court focused on the Debtor’s representations

of its efforts. The conclusion, that the Revised Log was “sufficient to make the necessary prima

facie showing that the documents in question are protected from production by the attorney-client

privilege, work product doctrine, or common interest doctrine[,]”33 constitutes clear error. The

“necessary prima facie showing” under the Fourth Circuit precedent cannot be satisfied by the

Debtor’s self-serving description of effort even if its description of effort is credited as true. It can

be satisfied only with “specific facts that, if credited, would suffice to establish each element of

the privilege or immunity that is claimed.”34 The log must set forth “specific facts” for “each

document” logged.35 For the reasons discussed below, the Revised Log fails to meet that standard.

                  1.      A Prima Facie Showing of Non-Privilege Has Been Made for No Less
                          than 500 Entries Showing that Withheld Information Was Authored
                          by or Shared with Third Parties Including Adversaries and
                          Government Agencies.

          18.     The Revised Log still includes at least hundreds of entries setting forth facts

concerning authors and recipients that, if credited as true, establish that the withheld information

cannot be subject to any protection.36 For example, the Revised Log indicates on its face that the

Debtor is withholding a “Memorandum prepared by outside counsel prepared in connection with




32
     Id. at Ex. 1, Attach. B ¶¶ 2-3.
33
     Mar. 17, 2022 Hr’g Tr. at 16:18-21.
34
     Interbake, 637 F.3d at 502 (internal quotation removed) (emphasis added).
35
     Id. (emphasis added).
36
     See CRs Supplement at Ex. R and S; Feb. 24, 2022 Hr’g Tr. at 122:3-123:5.


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litigation regarding resolution of asbestos-related personal injury claim and relating to the

[Redacted] case” and identifies the author as the “Law Office of Peter Angelos” that filed that

particular asbestos claim.37 Another entry indicates that the Debtor is withholding a “Letter

prepared by in-house counsel prepared in anticipation of litigation regarding asbestos strategy and

relating to the [Redacted] case” cannot be subject to any protection because it was sent to the

“Social Security Administration.”38 Likewise, the Debtor may not withhold a “Draft settlement

agreement prepared by outside counsel personnel prepared in connection with litigation regarding

resolution of asbestos-related personal injury claim and relating to the [Redacted] case” that has

been sent by “Email To” the asbestos-related personal injury claimant’s counsel, e.g., “Baron &

Budd P.C.”39

         19.     The Revised Log identifies these third parties as the actual authors and actual

recipients of the documents in the “Author/Email From” and “Email To” fields. Even if it were

not required by law to identify the actual authors and recipients (and it is), the Estimation CMO

makes it clear that it is required, describing the “Author/From” field to mean “[w]ho drafted or

sent the document or message, as appropriate” and describing the “TO” field to mean “Email TO

recipients. Or those whose [sic] received the document, as appropriate.”40 On its face, if the facts

the Debtor provided on its Revised Log are credited as true for these and numerous other

examples,41 they would not establish the elements of any privilege or protection. They would




37
     Id. at Ex. R, p. 2, NEW_PLID_013212.
38
     Id. at Ex. S, p. 14, NEW_PLID_035122.
39
     Id. at Ex. S, p. 2, NEW_PLID_004141.
40
     See Estimation CMO, Ex. 1, Attach. B ¶ 1.
41
  See generally CRs Supplement at Exs. R & S (providing examples from the first Debtor’s first
segment of the Revised Log).


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establish conclusively that the documents cannot satisfy the elements of any privilege or

protection and must be produced.

                 2.      A Prima Facie Showing of Privilege Has Not Been Made for the
                         53,689 Entries that Identify No Author.

          20.    The Revised Log still fails to identify the author of the documents or information

withheld for 53,689 entries. The Court rightfully expressed “lingering concerns” about these

documents at the March Hearing.42 These concerns will not be resolved by the Debtor’s offer to

produce documents described as attorney compilations/notebooks pursuant to a Rule 502(d) order.

Only 19,282 of the entries without authors are described as an “attorney compilation/notebook,”

and the Debtor has taken the position that it is willing to produce only a subset of attorney

compilations/notebooks.43 There are 34,407 other entries on the Revised Log where the author

field, a required field under the Fourth Circuit standard and the Estimation CMO, is blank.

Without an author, these entries fail to make the necessary prima facie showing. A conclusion

otherwise constitutes clear legal error.

                 3.      A Prima Facie Showing of Common Interest or Joint Defense
                         Protection Has Not Been Made for the 32,670 Entries that Claim
                         Those Protections.

          21.    The Revised Log still contains 32,670 entries that fail to set forth specific facts that,

if credited, would establish each element of the common interest doctrine or joint defense

protections. To establish a common interest, “the proponent of the privilege must at least

demonstrate that (1) the communicating parties shared an identical legal interest, (2) the

communication was made in the course of and in furtherance of the joint legal effort, and (3) the


42
     Mar. 17, 2022 Hr’g Tr. at 18:5-8.
43
  Tr. of Apr. 6, 2022 Proceedings before the Honorable Laura Turner Beyer (“Apr. 6, 2022 Hr’g
Tr.”) [Docket No. 2518] at 30:14-15 (“We never said, ‘We’d give you every compilation on the
log.’”).


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privilege had not been waived.”44 Consistent with the legal standard, the Estimation CMO

required the Debtor “describe the common interest with sufficient particularity, which may include

identification of: (a) the parties to such agreement (written or oral), (b) the date such agreement

was created and/or effectuated, and (c) the shared common interest(s) that are subject to such

agreement(s).”45

         22.     The Debtor has steadfastly refused to provide the required information. Many of

the entries in the Revised Log provide no facts at all that would demonstrate any element of

the common interest or joint defense protection asserted.

         23.     For some entries, if the description were credited as true, it would indicate that there

was no communication with any third party at all. For example, one entry on the Revised Log

describes the withheld document as an “Email from outside counsel to in-house counsel providing

legal advice and prepared in connection with litigation regarding written discovery.”46 The author

and recipient fields identify only individuals that the Players List describe as being associated with

Bestwall or Old GP. Where there is no third party identified at all, there is no basis for the

assertion of common interest protection.

         24.     Another entry describes the withheld document as an “Email chain among outside

counsel and in-house counsel providing legal advice regarding corporate restructuring.”47 As

an initial matter, the Debtor fails to explain how there could be any identical legal interest with

any third party “regarding corporate restructuring.” The “Author/From” field lists seventeen


44
  Mainstreet Collection, Inc. v. Kirkland’s, Inc., 270 F.R.D. 238, 243 (E.D.N.C. 2010) (citation
omitted).
45
     Estimation CMO, Ex. 1, Attach. B ¶ 3 (emphasis added).
46
  Exhibit 4 (excerpt of certain entries from the Debtor’s consolidated privilege log provided to
the Court and the Claimants’ Representatives on February 25, 2022), at NEW_PLID_133017.
47
     Exhibit 4 at NEW_PLID_131638 (emphasis added).


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people, including only one person that the Players List identifies as not associated with the Debtor

or Old GP: Michael Cruz. The recipient fields are blank. The Players List identifies Mr. Cruz as

an attorney at the law firm Brydon Hugo & Parker and describes his “Relationship to Bestwall/Old

GP” as “Co-defendant or its counsel involved in joint defense of asbestos litigation and sharing

common interest with Bestwall[.]”48 If those facts are credited as true, they would establish only

that Mr. Cruz is counsel for a co-defendant involved in joint defense of asbestos litigation. The

Debtor has identified no third party having a purported identical interest to support the assertion

of the common interest protection.

          25.    Neither the Debtor’s revisions to its Players List nor its generalized affidavits

addressed the Debtor’s failure to identify the parties to the purported common interest or any other

facts necessary to establish the elements of the common interest protection for any particular entry

on the Revised Log. The identity of the third party is just one of several specific facts that are

required to establish the elements of the common interest and joint defense protection described

above. The Estimation CMO further requires that those facts be provided with “sufficient

particularity.”49 A conclusion that these entries are sufficient to satisfy the standards set by the

law and by the Estimation CMO is clearly erroneous.

                            *                      *                      *

          26.    Presented with these facially deficient entries, and numerous other facially deficient

entries, it was clear error for the Court to find that the Revised Log “is sufficient to make the

necessary prima facie showing that the documents in question are protected from production” and




48
     Consolidated Revised Bestwall Estimation Players List (Feb. 25, 2022) (emphasis added).
49
     Estimation CMO, Ex. 1, Attach. B ¶ 3.


                                                  13
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deny the Motion to Compel.50 The Debtor failed to carry its burden to show the specific facts

necessary to establish each element of the privilege asserted for each document on the Revised

Log, despite its self-serving and repeated recitations of effort. The Debtor’s efforts, even if

material or extensive or extreme, are irrelevant to the “threshold” question of “whether the debtor’s

log adequately demonstrates with respect to each document that a claim of privilege or protection

applies.”51 At most, the Debtor’s efforts might inform the Court’s consideration of an appropriate

remedy for the Debtor’s failure to serve a legally sufficient privilege log.52 Even then, the Debtor’s

effort should be accorded little, if any, weight given the context of this proceeding where the

Debtor and its affiliates are seeking expansive and unprecedented relief. Here, “the privilege log[]

is being sought as part of an estimation proceeding in which the debtor is seeking to show that its

historical settlement values over the course of 40 years of litigation are unreliable due to

information suppression,” and the Claimants’ Representatives unsuccessfully “sought to narrow

the potential scope of discovery.”53 Thus, it is unsurprising and unremarkable that the Debtor

would need to spend material effort to meet even the most basic discovery standards. Despite its

efforts, the Debtor still failed to meet the legal standard.

          27.     The Fourth Circuit standard requires that a privilege log for “each document set

forth specific facts” to establish the claim of privilege protecting the document.54 As demonstrated




50
     Mar. 17, 2022 Hr’g Tr. at 16:18-20.
51
     Id. at 16:15-17.
52
   To the extent Court considered the primary remedy requested – production of all documents on
the log – too extreme, it should have provided “such other relief as may be just or proper.” Motion
to Compel p. 26. It does not support denial of the Motion to Compel.
53
     Mar. 17, 2022 Hr’g Tr. at 7:13-20 (emphasis added).
54
  Interbake Foods, LLC, 637 F.3d 492, 502 (4th Cir. 2011) (internal quotation removed and
emphasis added).


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in the papers and the hearings, at least tens of thousands of Revised Log entries fail to set forth

the necessary facts to satisfy the well-settled legal standard. The failure to apply the Fourth

Circuit standard, and the standards set forth in the Estimation CMO, was a “clear error of law”

requiring the Court to vacate the Order denying the Motion to Compel.55

       B.      Reconsideration is Necessary to Prevent Manifest Injustice.

       28.     The Court should also vacate the Order denying the Motion to Compel to prevent

the manifest injustice of shifting the Debtor’s burden to the Claimants’ Representatives in clear

violation of the law.56

       29.     If the Order is permitted to stand, the Claimants’ Representatives will be forced to

proceed to “Phase 2” and rely on the purported “facts” in the Revised Log to assess the Debtor’s

assertions of privilege and make substantive challenges to those assertions. The Debtor, however,

has made clear that it is not willing to rely on the Revised Log to accurately describe the bases of

its assertions of privilege. For example, at the April 6, 2022 hearing, the Debtor’s counsel

explained that the Debtor was “proposing to provide certain documents that [he] would



55
   See Edwards v. BCDR, LLC, No. 3:19-CV-02671-JMC, 2022 WL 981173, at *3 (D.S.C. Mar.
31, 2022) (granting motion for reconsideration when Court incorrectly applied summary judgment
standard); GO Comput., Inc. v. Microsoft Corp., 508 F.3d 170, 177 (4th Cir. 2007) (upholding
district court’s decision to grant Rule 59(e) motion when district court realized it improperly
dismissed all of plaintiff’s claims instead of one). Cf. Atlantic States Legal Found., Inc. v. Karg
Bros., 841 F. Supp. 51, 55 (N.D.N.Y. 1993) (“[r]econsideration is warranted where, as here, a
party demonstrates that the earlier ruling was premised upon a misunderstanding of a relevant
regulatory scheme.”).
56
   See Hawkins v. Stables, 148 F.3d 379, 381 (4th Cir. 1998) (reversing where the district court
“misapplied the law of privilege” when it “assumed that the privilege applied and placed the
burden of proof on the opponent of the privilege”); Andrews v. CBS Corp., No. 2:13-cv-2055-
RMG, 2015 WL 12831342, at *1 (D.S.C. June 18, 2015) (“‘Manifest injustice’ occurs when the
court commits an error that is direct, obvious, and observable.”) (emphasis added). Cf. Pfizer Inc.
v. Teva Pharms. USA, Inc., 803 F. Supp. 2d 464, 469 (E.D. Va. 2011) (granting motion to amend
the court’s judgment to prevent manifest injustice where the order would deprive a party of a “clear
statutory entitlement to a remedy”).


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describe . . . as compilations . . . documents that were basically [with]held as work product based

on the fact that they were in these compilations” pursuant to a Rule 502(d) order.57 Approximately

62,000 Revised Log entries describe the withheld information to be an “attorney

compilation/notebook,” but the Debtor has been unable to identify anything in the Revised Log

that it can use to identify which documents were “withheld as work product based on the fact that

they were in these compilations.”58 The Debtor’s effort to re-review all of entries and all of the

documents to create the Revised Log appears to have been wasted effort if the Debtor needs to

review the compilations again to figure out its basis for withholding any particular document.

           30.   The law does not require the Claimants’ Representatives, who have no access to

the withheld documents, to assess the Debtor’s assertions of privilege based on facts that do not

appear in the Revised Log. The Claimants’ Representatives are entitled, under the law and the

Estimation CMO, to assess the Debtor’s assertions of privilege or protection with the benefit of

specific facts that, if true, would demonstrate each element of the privilege or protection asserted.

The Debtor’s failure to provide those specific facts in the Revised Log obstructs the discovery

process set by the law and the Estimation CMO. The Order sanctions this obstruction and threatens

to undermine the Claimants’ Representatives’ confidence in any estimation resulting from this

Estimation Proceeding.

           31.   The Order not only is legally incorrect but also fails to preserve basic equity

between the parties. When ruling in favor of the Debtor, on issues such as PIQ enforcement, this

Court has held asbestos claimants to strict compliance with its orders, even where the Debtor would

not be entitled to obtain such information before judgment in the jurisdiction where the claim is



57
     Apr. 6, 2022 Hr’g Tr. at 11:3-11.
58
     Id.


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pending (and stayed). It is only fair that the Debtor be held to compliance with the Estimation

CMO and the undisputed legal standard regarding its privilege log.

       32.     Therefore, to prevent manifest injustice, the Court must grant the Motion for

Reconsideration and vacate the Order.

       C.      The Motion is Timely.

       33.     Federal Rule of Bankruptcy Procedure 9023 requires motions for reconsideration

to be filed within 14 days of the order for which reconsideration is sought. The Court entered the

order denying the Motion on April 4, 2022 [Docket No. 2502]. The Claimants’ Representatives

filed this Motion for Reconsideration on April 18, 2022, within the required 14-day period.

Therefore, the Motion for Reconsideration is timely and should be granted without delay.

                                        CONCLUSION


       WHEREFORE, for the reasons set forth herein, the Claimants’ Representatives request

that the Court grant the Motion for Reconsideration, vacate the Order entered on April 4, 2022,

and order such other relief as may be just and proper, including but not limited to the production

of some or all of the documents and information listed on the Debtor’s Revised Log.




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Dated: Charlotte, North Carolina
       April 18, 2022

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